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Attorneys for Artemis Langford

                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF WYOMING

JAYLYN WESTENBROEK, HANNAH,                 )
HOLTMEIER, ALLISON COGHAN, GRACE            )
CHOATE, MADELINE RAMAR, and MEGAN           )
KOSAR, on behalf of themselves and          )
derivatively on behalf of KAPPA KAPPA       )
GAMMA FRATERNITY,                           )
                                            )
      Plaintiffs,                           )
                                            )
v.                                          )          Civil Action No.: 23-CV-00051-ABJ
                                            )
KAPPA KAPPA GAMMA FRATERNITY, an            )
Ohio non-profit corporation, as a Nominal   )
Defendant and as a Direct Defendant;        )
MARY PAT ROONEY, President of the           )
Fraternity Council of KAPPA KAPPA GAMMA )
FRATERNITY, in her official capacity, KAPPA )
KAPPA GAMMA BUILDING CO., a Wyoming )
non-profit corporation, and ARTEMIS         )
LANGFORD,                                   )
                                            )
      Defendants.                           )


    BERKNESS DECLARATION IN SUPPORT OF MOTINO TO DISMISS
    ALLEGATIONS AGAINST ARTEMIS LANGFORD WITH PREJUDICE


      I, Rachel Berkness, hereby declare as follows:

   1. At all relevant times, I served as counsel to Artemis Langford in this action.
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 2. I am in possession of a video “Rocky Mountain Women’s Network” took at the

    University of Wyoming campus after claiming the suit was “thrown out by Judge

    Alan Johnson because he said he could not define the word ‘woman.’” They arrived

    with rocks they had painted with messages such as “Artemis Langford is a man.”

    In a video which the group describes as “the record of our dissent,” the group can

    be seen placing flyers around campus that contain a photo of Ms. Langford’s face

    along with statistics indicating that she is predisposed to commit sex crimes. The

    group left humiliating chalk messages with Ms. Langford’s name on the sidewalks

    and hung a banner on an overpass that read “#everybodyknows ‘Artemis’ Langford

    is a man.”

 3. I am in possession of video of Ms. Gaines’ speech at the University of Wyoming in

    which she says: “The judge, was appointed by Ronald Reagan, 87-years-old, how

    is he still breathing? He told these girls in regards to this incident right here, their

    sorority and allowing a male into this space with these girls who have been

    promised sisterhood . . . this judge, again who is on his last breath, said, ‘Who am

    I to define what a woman is?. . . They can interpret it however they want.’”

Dated ____02/28/2025_________.                 __/s/ Rachel Berkness ___________
                                               Rachel M. Berkness, Bar No. 7-5966
                                               Freeburg Law, LLC
                                               Box 3442
                                               Jackson, WY 83001




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                           CERTIFICATE OF SERVICE

      The undersigned does hereby certify that a true and correct copy of the foregoing
document was delivered to the Court via the CM/ECF System and served upon counsel
via CM/ECF electronic transmission this 28th day of February 2025.

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                                        /s/ Rachel Berkness
                                             Rachel Berkness



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